     Case 3:11-cr-01448-MMA                  Document 1916               Filed 10/14/16                               cn
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AO 245B (CASDRev. 08/13) Judgment in a Criminal Case for Revocations
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                                  United States District Court CLERK, U S. DISTRICT COURT
                                          SOUTHERN DISTRICT OF CALIFORNIA                             SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                      BY                      DEPUTY
             UNITED STATES OF AMERICA                                  AMENDED JUDGMENT IN A CRIMINAL CASE
                                                                       (For Revocation of Probation or Supervised Release)
                       V.                                              (For Offenses Committed On or After November 1, 1987)
              AMA BAHATI BERNARD (15)
                                                                          Case Number:        11CR1448 MMA

                                                                       DAVID ZUGMAN
                                                                       Defendant’s Attorney
REGISTRATION NO.               17390298
□ ’
THE DEFENDANT:
[X| admitted guilt to violation of allegation(s) No.        1

□ was found guilty in violation of allegation(s) No.                                                  after denial of guilty.

Accordingly, the court has adjudicated that the defendant is guilty of the following allegation(s):

Allegation Number                 Nature of Violation
                                  Unlawful use of a controlled substance and/or Failure to Test; VCCA (Violent Crime Control
              1                   Act)




     Supervised Release is revoked and the defendant is sentenced as provided in page 2 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
        IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shaUijatfty the court and United States attorney of any
material change in the defendant’s economic circumstances.                   /

                                                                       Qctobet/f 1.2016
                                                                       Date (^imposition of Semem



                                                                       HON. MICHAEL M. ANELLO
                                                                       UNITED STATES DISTRICT JUDGE




                                                                                                                  11CR1448 MMA
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AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case for Revocations

DEFENDANT:                 AMA BAHATI BERNARD (15)                                                 Judgment - Page 2 of 2
CASE NUMBER:               11CR1448 MMA

                                                IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 NINE (9) MONTHS (DEFENDANT TO RECEIVE FEDERAL CUSTODY CREDIT AS OF 9/16/2016)




 □      Sentence imposed pursuant to Title 8 USC Section 1326(b).
 K1     The court makes the following recommendations to the Bureau of Prisons:
           - COURT RECOMMENDS PLACEMENT AT METROPOLITAN CORRECTIONAL CENTER
               (MCC) SAN DIEGO.



 □      The defendant is remanded to the custody of the United States Marshal.

 □      The defendant shall surrender to the United States Marshal for this district:
        □ at                                A.M.              on
        □    as notified by the United States Marshal.

 j-j    The defendant shall surrender for service of sentence at the institution designated by the Bureau of
        Prisons:
        □    on or before
        □    as notified by the United States Marshal.
        □    as notified by the Probation or Pretrial Services Office.

                                                       RETURN

 I have executed this judgment as follows:

        Defendant delivered on                                           to

 at                                        , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                     By                     DEPUTY UNITED STATES MARSHAL




                                                                                                      11CR1448 MMA
